When the Commission rendered its order against the plaintiff herein, it filed an application for a rehearing before the Commission, in accordance with its rules and regulations adopted under Sections 4 and 5 of Article VI of the Constitution of 1921. Within ninety days from the date that the Commission refused to grant the plaintiff a rehearing or denied its application therefor, it filed a suit in the District Court of East Baton Rouge attacking the validity and correctness of the Commission's order. The defendant filed exceptions to the jurisdiction of the court ratione materiae on the ground that the ninety day period from the date of the Commission's order had elapsed and, therefore, the suit was filed too late. The plaintiff countered by pointing out that under the express provisions *Page 609 
of Sections 4 and 5 of Article VI of the Constitution, the Commission was granted the power and authority to adopt and enforce "reasonable rules, regulations, and modes of procedure as it may deem proper for the discharge of its duties * * *", and these Sections also provide that its orders "shall go into effect at such time as may be fixed by the Commission * * *." Therefore, as the Commission adopted a reasonable rule and regulation granting the party against whom it had rendered its order a well-recognized right of procedure of applying for a rehearing, conditioned upon the application therefor being filed within five days, the effective date of the Commission's order was the day that the Commission denied the application for rehearing and not the original date when the Commission rendered its order.
The district judge considered the plaintiff's contention sound and, therefore, overruled the exceptions, but decided against the plaintiff on the merits of the case. The plaintiff appealed and we sustained the exceptions but did not, in our original opinion, reconcile the ninety day clause with the other above-quoted pertinent parts of Sections 4 and 5 of Article VI of the Constitution.
One of the recognized methods of interpreting and reconciling provisions of the Constitution or of a statute is the construction placed upon the provisions thereof by the officers in charge of operations thereunder for an appreciable period of time. State v. Standard Oil Co. of La., 190 La. 338, 356, 357, 358, 182 So. 531. *Page 610 
It appears that the contemporaneous construction given to the above-cited provisions of Sections 4 and 5 of Article VI of the Constitution of 1921 is that the effective date of the order of the Commission is the day when the Commission refused to grant the application for a rehearing. In other words, during the time that the application for a rehearing is pending before the Commission, when properly filed in accordance with its reasonable rule and regulations, the order of the Commission is suspended.
In the case of Rimmer v. Jones Bros., 117 La. 910, 42 So. 421, the question was presented of whether or not an applicant for a writ of review to this court had thirty days after the decision of the Court of Appeal had been rendered and entered, or thirty days after the Court of Appeal had denied the application for a rehearing.
The pertinent part of Article 101 of the Constitution of 1898 reads as follows: "Provided, that the Supreme Court shall in no case exercise the power conferred on it by this article, unless the application be made to the court, or to one of the justices thereof, not later than 30 days after the decision of the Courtof Appeal has been rendered and entered." (Italics mine.)
This, of course, in principle, is the identical situation with reference to the ninety day clause of Section 5 of Article VI of the Constitution of 1921 relative to appeals from decisions of the Louisiana Public Service Commission. *Page 611 
In deciding that the effective date of the decision of the Court of Appeal was the day it denied the application for a rehearing and not the original date when the judgment was rendered and entered, the court, in Rimmer v. Jones Bros., supra, stated: "In the Supreme Court judgments are not signed, but rendered in open court and entered on the minutes. Such is the entry referred to in article 101. Where an application for arehearing has been filed, the legal effect of the judgment issuspended, and the delay of 30 days commences to run from thedate on which the decree becomes a finality by the refusal of theapplication." (Italics mine.)
The above language expresses the almost universal rule of the legal effect of the timely filing of an application for a rehearing.
For the foregoing reasons, I respectfully dissent from the refusal to grant a rehearing herein.